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                                                                                                          U.S. DISTRICT COURT
                                                                                                             AUGUSTA niY.
                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF GEORGIA                                           20 AUG 25 PH 1*56
                                                 STATESBORO DIVISION

                                                                                                         CLERK
                                                                                                            SO.D!        PGA.
UNITED STATES OF AMERICA
                                                               *



        V.                                                                   CR 612-018-19
                                                               *

                                                                 ■k
MARTELL ANTWON             MINGO




                                                         ORDER




         Defendant          Martell               Antwon       Mingo         has        filed        a    motion       for
\>                                          //

     compassionate          release                under      18      U.S.C.       §    3582(c) (1) (A) .              The


Government opposes the motion.                                 Upon due consideration,                       the Court

denies Mingo's request for relief.

         The         compassionate                     release        provision           of         18     U.S.C.            §


3582 (c) (1) (A) provides a narrow path for a district court to reduce

the      sentence          of     a       criminal            defendant            in        extraordinary             and

                                                  ft                                           \\

compelling              circumstances                  if    such     reduction          is         consistent       with


applicable              policy        statements               issued         by       the      [United          States]

                                           if

Sentencing Commission.                            18 U.S.C. § 3582(c) (1) (A) .                      Section IBl.13


of     the         Sentencing             Guidelines           provides            the        applicable          policy

statement,              explaining              that     a   sentence         reduction may be                   ordered

where     a        court   determines.                  upon consideration of the                         factors      set
                                                                       w
forth     in       18    U.S.C.       §    3553(a) ,         that          extraordinary and compelling

                   exist and the defendant does not present a danger to the
              it
reasons



safety of any other person or the community.                                                 U.S.S.G.        §   1B1.13.
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The application note to this policy statement lists three specific

examples        of    extraordinary             and    compelling        reasons        to   consider

reduction of a defendant's sentence under § 3582(c) (1) (A) :                                      (1) a


medical condition; (2) advanced age; and (3) family circumstances.

                                                                                             w

Id. n. 1(A)-(C).         Grounds raised by Mingo may implicate the                               medical


condition" category, which is discussed below.

        The application note to the policy statement also provides a
           \\                 ft
fourth          catch-all            category      of      extraordinary          and    compelling

reasons:         As determined by the Director of the Bureau of Prisons,

there    exists         in         the    defendant's          case    an    extraordinary              and

                                                                                                  ft

compelling           reason        other    than,         or   in     combination        with.          the


aforementioned           three           categories.            U.S.S.G.     §     1B1.13         n.l(D)


(emphasis added).             Through his motion, Mingo insists that the First

Step Act has now given district courts authority to ignore the

emphasized language and to determine                             whether extraordinary and

compelling reasons exist outside of the three enumerated examples

in U.S.S.G. § 1B1.13 independent of the BOP's determination.                                           Mingo

contends        that    if         he    were   sentenced           today.   he    would         not      be


considered        a    career           offender      under    the     sentencing        guidelines;

thus, this constitutes a compelling and extraordinary reason for

this Court to use its discretion to reduce his sentence.                                     The Court


cannot do so even if Mingo's view of the sentencing guidelines is

correct.         Accord United States v. Saldana, 807 F. App'x 816, 820
                                                                                   w

(lO^h Cir. 2020) (rejecting a similar argument that                                    extraordinary


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                                   n

and compelling reasons                   include claims related to post-sentencing

developments          in    case       law);     United       States    v.      Rogers,     2020    WL


4597063,       at     *3     (M.D.       Fla.    Aug.       11,    2020)        ("The   basis      for

compassionate release is based on individual circumstances and not

a medium for mass reductions of statutory penalties.")                                    The First


Step     Act    did        not   render        the       Sentencing     Commission's         policy

statement an inappropriate expression of policy.                                The fact remains


that Congress intended that the                          Sentencing     Commission,         not the


judiciary, determine what constitutes an appropriate use of the
\\                                   n

     compassionate         release        provision.           See     28    U.S.C.     §   944(t).


Indeed, § 3582(c) (1) (A) as amended by the First Step Act still

requires       courts       to   abide      by       policy    statements         issued    by     the

Sentencing          Commission.            See        18      U.S.C.        §     3582(c) (1) (A).


Accordingly, this Court will not consider circumstances outside of

the specific examples of extraordinary and compelling reasons to

afford     relief.          Accord,       e.g.,       United      States     v.   Lynn,     2019    WL


3805349, at *4 (S.D. Ala. Aug. 12, 2019) ("If the policy statement

needs tweaking in light of Section 603(b) [of the First Step Act],

that tweaking must be accomplished by the [Sentencing] Commission,

not by the courts."); United States v. Johns, 2019 WL 2646663 (D.

Ariz. June 28, 2019); United States v. Gross, 2019 WL 2437463 (E.D.

Wash. June 11, 2019); United States v. Heromin, 2019 WL 2411311

(M.D. Fla. June 7, 2019); United States v. Willis, 2019 WL 2403192

(D.N.M. June 7, 2019); United States v. Shields, 2019 WL 2359231


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(N.D. Calif. June 4, 2019) (stating that there is no                                 authority

for the proposition that the Court may disregard guidance provided

by the Sentencing Commission where it appears that such guidance

has not kept pace with statutory amendments").

       Turning     back    now   to the    only       possibly     applicable        category

into    which     Mingo    may   fall,    the       Court   has   determined         that   his


medical condition does not qualify as extraordinary and compelling

warranting release.              To qualify, an inmate's medical condition

must be        serious and advanced . . . with an end of life trajectory.

U.S.S.G. § lBl.13, app. note 1(a)(i), or must be serious enough

               substantially diminish [es] the ability of the [inmate] to
          \\
that it


provide        self-care    within       the       environment     of    a   correctional
                                                                                               n

facility and from which he or she is not expected to recover.

id., app. note 1(a) (ii).            Mingo presents no medical evidence that

he meets either of these criteria.                    Instead, he suggests that his

medical condition is serious because of the likely impact of COVID-

19.    Mingo claims he is immunocompromised from years of smoking.

has immune        deficiencies, is        an       epileptic,     is   obese,   and     has    a

family history of diabetes, high blood pressure and cancer.                                   He



does not submit medical evidence to support his claim.                                 Rather,


the    Government     has submitted        Mingo's inmate          medical records to

present a more trustworthy account.

       The Court has considered Mingo's medical records in light of

the Centers for Disease Control and Prevention's ("GDC") list of


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significant risk factors.                    First, the CDC reports the following

conditions "are             at   increased    risk       of   severe    illness     from         COVID-


19":            cancer;    chronic     kidney      disease;       COPD;   immunocompromised

state           (weakened    immune       system)       from    solid     organ     transplant;

obesity (body mass index [BMI] of 30 or higher); serious heart

conditions, such             as    heart failure,         coronary artery disease,                      or

cardiomyopathies;                sickle    cell        disease;    and    type      2   diabetes


mellitus.           See Centers        for    Disease          Control     &      Prevention,

People with Certain               Medical      Conditions,         available at https://

WWW■ode.gov/coronavirus/2019-ncov/need-extra-precautions/people-

with-medical-conditions.html                    (last         visited     on       August              21,


2020) .          Mingo's medical records do not show that he suffers                               from

any      of      these    conditions.        For   instance,       in    August     2019,         Mingo

denied having             seizures,    diabetes,        hypertension or         cardiovascular

and respiratory issues.                   (Gov't Resp.        in Opp'n,    Doc.    1411,         Ex.    A,

at     33 . )     Also,    based upon Mingo's height and weight,                    he does not

meet       the     CDC's    clinical      definition      of    obese.^        Moreover,          while


smoking,2          hypertension,       and   immunocompromised            state     from         immune

deficiencies are risk factors, they are listed by the CDC as                                      might




1
      In December 2019, Mingo weighed 214.9 pounds and was 75.5 inches tall,                       which
equates to a BMI of 26.5.  See Centers for Disease Control & Prevention, Adult
BMI Calculator,   available at https://www.ede.qov/healthyweiqht/assessing/bmi
/adult bmi/enqlish bmi calculator/bmi calculator.html (last visited on August
21,    2020) .

                                                                                            //
2 Tellingly, the medical records do not mention of                  "years of     smoking         (other
than marijuana) or its effects on Mingo.


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                              //
be at an increased risk            for severe illness for those that contract


COVID-19.       See Centers for Disease Control &                  Prevention, People

with Certain Medical Conditions, supra (emphasis added).                         The Court


is   unwilling to         conclude    that    a    condition      that "might" put        a

defendant      at    an   increased    risk       qualifies      his   circumstances     as


extraordinary        and   compelling    enough          to    warrant   early   release.

Finally, the CDC does not list family history as a risk factor.

       In short, it is best remembered that Mingo bears the burden

of demonstrating that compassionate release is warranted.                               Cf.


United States v. Hamilton, 715 F.3d 328, 337 (ll^h cir. 2013) (in

the context of a motion to reduce under § 3582(c)(2) ) .                       He has not


done    so.     His concern about the pandemic as it relates to his

medical conditions is at this point too speculative to qualify as

extraordinary and compelling.

       Even if a defendant demonstrates extraordinary and compelling

reasons for compassionate release, the Court must still determine

if he is a danger to the community, U.S.S.G. § 1B1.13(2) , and must

consider       the   sentencing       factors       of    18    U.S.C.    §   3553(a),    §

3582(c) (1) (A).      These considerations do not support early release.

Mingo's offense and criminal history reflect serious involvement

in drug trafficking.          Additionally, Mingo has nine years remaining

on   his      sentence.      Early     release       would      fail     to   reflect   the

seriousness of his offense, promote respect for the law, provide

just punishment, and afford adequate deterrence.                         Also, the Court


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notes that in the last six months, Mingo has been disciplined for

possessing    a   hazardous   tool,    assault     without     serious    injury.

refusing     to   obey   an   order,   and    failing     to    follow     safety

regulations.      (Def.'s Mot. for Compassionate Release, Doc. 1409-

2, at 1. )     Given Mingo's conduct in and out of prison, the Court

cannot conclude with any amount of certainty that he does not pose

a danger to the community.

        Upon the foregoing. Defendant Martell Antwon Mingo's motion

for compassionate release (doc. 1409)            is   DENIED.     The    Clerk   is


directed to TERMINATE the Government's motion to dismiss Mingo's

motion for compassionate release (doc. 1410).

        ORDER ENTERED at Augusta, Georgia, this                 day of August,

2020.




                                           J. R^DfL J4ALL,/^CHIEF JUDGE
                                           UNITE       ATES    DISTRICT   COURT
                                           SeU¥tfERN   DISTRICT OF GEORGIA




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